


  Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Defendant on the 12th day of December 2006 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the
   following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
 

  "Dismissed ex mero motu by order of the Court in conference, this the 27th day of June 2007."
 

  Upon consideration of the petition filed on the 12th day of December 2006 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
 

  "Denied by order of the Court in conference, this the 27th day of June 2007."
 

  Accordingly, only those issues which are the basis of the dissenting opinion in the Court of Appeals shall be presented to this Court in briefs. The Defendant's new brief so limited in scope shall be filed with this Court not more that 30 days from the date of certification of this order.
 
